Case 3:05-cr-30015-DRH     Document 453 Filed 10/27/06 Page 1 of 1       Page ID
                                    #1033
                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,           )
                                    )
                         Plaintiff, )
                                    )
            vs.                     )            NO. 05-CR-30015-DRH
                                    )
JOE SHARP,                          )
                                    )
                         Defendant. )


                                    ORDER



HERNDON, District Judge:

            Before the Court is Defendant’s Motion to Continue Sentencing.

(Doc. 449.) The motion is unopposed. The Court, being fully advised in the

premises, and for the reasons stated in said motion, GRANTS Defendant’s

motion. (Doc. 449.) The sentencing is now set for April 13, 2007 at 1:30 p.m.

            IT IS SO ORDERED.

            Signed this 26th day of October, 2006.



                                           /s/      David RHerndon
                                           United States District Judge




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